United States v. Denka Performance Elastomer, LLC et al. (2:23-cv-735)



           United States’ Motion for Preliminary Injunction




                           Exhibit C
                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF LOUISIANA

  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  DENKA PERFORMANCE ELASTOMER,
  LLC                                                 Civ. No. 2:23-cv-735

         and

  DUPONT SPECIALTY PRODUCTS USA,
  LLC,
       Defendants.


                      DECLARATION OF DR. NYESHA C. BLACK
               IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION

        Pursuant to 28 U.S.C. § 1746, I, Nyesha Black, declare as follows:

Introduction

        1.       I have been retained by the U.S. Department of Justice and asked to render my

expert opinions on the population and other demographic characteristics of the communities

surrounding Denka Performance Elastomer LLC’s (Denka) facility (the Denka Facility) located in

LaPlace, Louisiana. I was specifically asked to analyze available demographic information,

including the population count, age distribution, and other demographic features, of the

communities within a 2.5-mile radius of the Denka Facility.

Qualifications

        2.       I am an expert in demographic analysis and research. I have more than a decade of

experience in academic and applied demographic research. For the past two years, I have served as

the Director of Demographic and Socioeconomic Analysis at the Center for Business and Economic

Research at the University of Alabama. In that role, I am primarily responsible for conducting
demographic and economic analysis and the production of population estimates and projections. I

also serve as the liaison between the State of Alabama and the U.S. Census Bureau. In addition, I

am an adjunct professor at the University of Alabama at Birmingham where I teach undergraduate

courses in sociology, including a course in population dynamics. I previously held the position of

Teaching Assistant Professor in the Department of Sociology at University of Alabama

Birmingham.

        3.     I hold a master’s degree and PhD in demography and sociology from Pennsylvania

State University. Additionally, I have extensive training in quantitative research, including a

Certificate in Advanced Spatial Pattern Analysis for Population Scientists from the University of

California, Santa Barbara, and a Business Research Certificate from the University of Alabama at

Birmingham.

Publications in the Last 10 years

        4.     Over the course of my career I have authored, or co-authored, peer-reviewed

research focused on spatial patterns of health disparities across socioeconomic and demographic

groups. Findings from my research have been published in peer-reviewed journals such as Social

Science and Medicine, Applied Spatial Analysis and Policy, Applied Economic Perspectives and

Policy, and the Journal of Urban Health. I have also presented my research at professional

conferences, including the Southern Demographic Association and the Population Association of

America. My curriculum vitae, attached in Appendix B, lists my publications in the last 10 years.

Prior Testimony

        5.     In the past 4 years, I have provided deposition testimony in one civil case. In

October 2022, I was deposed in United States of America v. Housing Authority of Ashland, AL,

Southern Development Company of Ashland, LTD., (N.D. ALA.) (Civil Action No. 1:20-cv-01905-

ACA).

                                                2
Compensation

       6.      I am being compensated for my work on this matter, including testimony, at the

rate of $395 per hour. As of the date I signed this declaration I have spent approximately 200 hours

on this matter.1

Methodology and Facts and Data Considered

       7.      In preparing my opinions in this matter, I reviewed U.S. Census Bureau data,

including information from the 2010 and 2020 Decennial Censuses, and the 2016, 2020, and 2021

American Community Survey (or ACS) five-year estimates.2, 3 I also reviewed demographic data

available from the Louisiana Department of Education. I also conducted a literature search in peer-

reviewed journals for best practices in estimating populations exposed to environmental hazards.

During my review of extant literature, I considered the methodologies and design employed by

various studies, including methods such as the polygon containment method, centroid containment

method, and the buffer containment method.

       8.      In addition to reviewing the above materials, I also employed a variety of secondary

data sources and mapping techniques to analyze the demographics of the population that resides




1
 My subcontractor provided technical assistance with data extraction in Social Explorer,
producing maps in ArcGIS, and creating demographic tables.
2
 The American Community Survey (ACS) is released annually in one- and five-year estimates.
According to the U.S. Census Bureau, the ACS five-year estimate program “are “period”
estimates that represent data collected over a period of time. The primary advantage of using
multiyear estimates is the increased statistical reliability of the data for less populated areas and
small population subgroups.” American Community Survey 5-Year Data (2009-2021). (2022,
December 8). United State Census Bureau. https://www.census.gov/data/developers/data-
sets/acs-5year.html
3
 Total Population [Tables]. In SocialExplorer.com. Retrieved February, 27, 2023, from
https://www.socialexplorer.com/explore-tables

                                                  3
within a 2.5-mile radius of the Denka Facility. I used Social Explorer4 to extract data from the U.S.

Census Bureau. I also employed mapping tools that utilize various geographical information

systems (GIS), including ESRI ArcMap 10.4.1 in ArcGIS.

       9.      I downloaded geographic boundary files (including state, counties, census tracts,5

block groups, and municipalities) from the U.S. Census Bureau TIGER/Line Shapefiles for 2020.

These shapefiles were imported into ArcMap and ArcGIS, which enabled me to create various

maps. The latitudinal and longitudinal coordinates of a central point within the Denka Facility6

were geocoded as the central point on each map. The Department of Justice requested that I

calculate 0.5, 1.0, 1.5, 2.0, and 2.5-mile radial “buffers” (in this case, circles) drawn around the

Denka Facility, which I did using the buffer tool within the analysis tools in the proximity toolbox

in ArcMap.

       10.     Once the buffers were created, I used GIS analysis to merge the buffers to the

census tracts boundary files, which then allowed me to determine which census tracts fall within


4
 Social Explorer is a data service that can be used for accessing and extracting raw demographic
data, including U.S. Census data such as the Decennial Census and the American Community
Survey. It can be used by demographers or other social scientists, such as myself, to efficiently
access secondary population-level data.
5
  According to the U.S. Census Bureau, “Census Tracts are small, relatively permanent statistical
subdivisions of a county or statistically equivalent entity […] that generally have a population
size between 1,200 and 8,000 people, with an optimum size of 4,000 people. A census tract
usually covers a contiguous area; however, the spatial size of census tracts varies widely
depending on the density of settlement. Census tract boundaries are delineated with the intention
of being maintained over a long time so that statistical comparisons can be made from census to
census. Census tracts occasionally are split due to population growth or merged as a result of
substantial population decline.” Source: Glossary. (n.d.). U.S. Census Bureau. Retrieved
February 24, 2023, from
https://www.census.gov/programssurveys/geography/about/glossary.html#par_textimage_13
6
 The Department of Justice provided the following coordinates for the Denka Facility: latitude
30.058668315, longitude -90.524145124. This point is an approximate central location of the
primary sources of chloroprene emissions at the Denka Facility.

                                                 4
each buffer area. This allowed me to evaluate the demographic characteristics of census tracts

within each buffer. Next, for each census tract that falls completely or partially within a buffer, I

calculated the geographic area of the census tracts, or portions thereof, using the intersect tool

within the analysis tools in the overlay toolbox in ArcMap. I also determined the geographic area

of the census tracts that lie outside of a buffer using the erase tool in ArcMap.

       11.     Next, I used Social Explorer to identify the block groups contained within the

census tracts that fell partially within each buffer, and to extract the total population and housing

unit count within each block group.

       12.     The United States provided a list of latitude and longitude coordinates for air

monitors operated by the U.S. Environmental Protection Agency (EPA) or by Denka. That list is

attached as Appendix A. I geocoded these points onto maps included in this report using the same

process as was used to geocode the Denka Facility.

Opinions

       13.     The following is a statement of my current opinions in this matter. If called to

testify, I could competently testify to the following to a reasonable degree of scientific certainty.

       14.     My primary conclusions are that:

               •   Based on my review of all the data discussed below, I estimate that the total

                   population living within the 2.5-mile buffer surrounding the Denka Facility is

                   approximately 15,000 to 17,000 people. I also estimate the total populations

                   living within the buffers closer to the Denka Facility, as follows: approximately

                   9,000 people living within the 2.0-mile buffer, approximately 3,000 people

                   living within the 1.5-mile buffer, approximately 800 to 1,000 people living

                   within the 1.0-mile buffer, and no people living within the 0.5-mile buffer.



                                                  5
               •   There are a significant number of children under the age of 18 living within the

                   2.5-mile buffer surroung the Denka Facility, including a significant number of

                   children below age five. In nearly all census tracts within the 2.5-mile buffer,

                   including tracts 708 and 709 – the tracts closest to the Denka Facility – children

                   under the age of 18 represent approximately 20 to 25 percent of the total

                   population in the 2020 Census (23 percent) and the 2020 ACS (25 percent).7

                   Based on the 2016 and 2020 ACS and the 2010 Census – the last decennial

                   census to include numerous age subcatagories – I estimate that 800 to 1,000 of

                   the children living within the 2.5-mile buffer (five to seven percent of the total

                   population) are under the age of five, and that 2,000 to 3,000 of the children (15

                   to 18 percent of the total population) are between the ages of 5 to 17.

               •   The number of adults within the census tracts surrounding the Denka Facility

                   who are 65 years and older increased between 2010 and 2020, and it is the only

                   age cohort that has experienced population growth, which suggests that many

                   residents are “aging in place.”

               •   Based on ACS data, a majority of the residents of census tracts 708 and 709

                   have lived in their homes for at least a decade, suggesting that these

                   communities consist primarily of long-term residents.

               •   The overall population residing within the census tracts surrounding the Denka

                   Facility is predominantly Black.




7
 These rates are the proportion of children averaged across all census tracts that are contained
partially or completely within the 2.5-mile buffer.

                                                 6
               •   Life expectancy in the two census tracts closest to the Denka Facility (tracts

                   708 and 709) is lower than both the state and parish-level life expectancy.

   A. Description of Residential Areas Within a 2.5 Mile Radius of the Denka Facility.

       15.     The Denka Facility is located along Highway 44, on the border of LaPlace and

Reserve, Louisiana on the east bank of the Mississippi River in St. John the Baptist Parish. Below,

I describe my visual observations – using Google Maps and Google Earth – of buffers set at 0.5,

1.0, 1.5, 2.0, and 2.5 miles around a central point within the Denka Facility.

Figure 1: Map of 0.5-mile Buffer Surrounding the Denka Facility




       16.     Figure 1, above, shows the location of the Denka Facility and the 0.5-mile buffer

that encircles the Facility. The image shows that the Denka Facility has a green landscape to the

                                                 7
immediate west, and it is bordered by a railroad track8 to the north, a flat landscape to the

immediate east, and Highway 44 and the Mississippi River to the south. From my visual inspection

of rooftops using Google Maps and Google Earth, it appears that there is no residential dwelling

within the 0.5-mile buffer of the Denka Facility (as discussed above, the 0.5-mile buffer and the

other buffers discussed here are drawn from a central point within the Facility, and not from the

Facility’s fence line, which is, of course, closer to surrounding residential communities).

Figure 2: Map of 0.5- to 1.0-mile Buffers Surrounding the Denka Facility




8
 According to the National Transportation Database, the rail line is owned and operated by the
Canadian National Railway.




                                                 8
       17.     Figure 2 shows the residential communities that lie within 1.0-mile of the Denka

Facility. The Belle Point subdivision of Reserve, Louisiana spans from East 31st Street to LA-3179

(E 22nd Street) and lies west of the Denka Facility. The Fifth Ward Elementary School lies

approximately 3,100 feet west of the Denka Facility.9 To the east of the Denka Facility, there are

a few residences along West 5th Street in LaPlace, LA.


Figure 3: Map of 0.5 to 1.5-mile Buffers Surrounding the Denka Facility




9
 I used the measurement tool in Google Maps to determine the distance between Fifth Ward
Elementary School and the geocoded central point I used to draw buffers around the Denka
Facility.

                                                9
       18.     The 1.5-mile buffer shown in Figure 3 expands to include West 5th Street to Birch

Street in LaPlace to the east, and the Cole’s Landing subdivision (a cul-de-sac community) to the

north of the Denka Facility. This area includes East St. John Preparatory Academy and Ochsner

LaPlace Hospital. The 1.5-mile buffer also includes a small portion of Jean Marie Street and

several residences between Ivy Court and East 12th Street located northwest and west of the Denka

Facility, respectively, in Reserve, Louisiana. The 1.5-mile buffer also extends across the bank of

the Mississippi River along Louisiana Highway 18 in Edgard, Louisiana, and includes residences

near the EuroChem fertilizer plant, Goldmine Plantation, and the St. John West Side Volunteer

Fire Department.

Figure 4: Map of 0.5 to 2-mile Buffers Surrounding the Denka Facility




                                               10
       18.     The 2.0-mile buffer, shown in Figure 4, shows residences that lie southwest of

Denka, across the bank of the Mississippi River, near New Jerusalem Baptist Church, in Edgard.

There are additional residences along Louisiana Highway 18 and East 13th Street. In LaPlace, the

2.0-mile buffer includes LaPlace Oaks public housing units and residential communities near St.

Joan of Arc Catholic School and Church. To the north of the Denka Facility, there are residences

between Captain G. Bourgeois Street and West 2nd Street. Parts of the LaPlace Park and The Grove

subdivisions lie north of Airline Highway within this 2.0-mile buffer. The entire Belle Pointe

subdivision is also situated north of the Denka Facility, along with the East St. John Preparatory

Academy and East St. John High School. In Reserve, the 2.0-mile buffer includes virtually all

residences between DuPont Road and Homewood Place, and the areas between East 13th Street

and Central Avenue north of LA-44 and south of the railway line.




                                               11
Figure 5: Map of 0.5 to 2.5-mile Buffers Surrounding the Denka Facility




       19.     Within the 2.5-mile buffer, shown in Figure 5, above, there are residential

communities between Central Avenue and Northwest and West 4th Streets; north of Railroad

Avenue and south of Blue Highway; and near LifeHouse Church, including the Bardwell RV Park

– all of which are located in Reserve. In LaPlace, there are several neighborhoods within the

2.5-mile buffer that are north of West Airline Highway and east and west of Belle Terre Boulevard,

near several big box and other retail stores. The 2.5-mile buffer also includes residences around

Larayo Park, the Woodland and LaPlace Plantations subdivisions north of West 2nd Street and

south of West Airline Highway.




                                               12
Figure 6: Map of Census Tracts (Completely or Partially) Within the 2.5-mile Buffer




       20.     Figure 6, above, shows the census tracts surrounding the Denka Facility. Some

portion of each census tract depicted on the map lies within the 2.5-mile buffer, with census tracts

708 and 709 located entirely within the buffer area.




                                                13
Figure 7: Map of Air Monitors Installed by EPA and Denka10




       21.     Figure 7, above, shows the location of air monitors that were installed by the EPA,

which were active between 2016 and 2020, as well as air monitoring stations installed and operated

by Denka, which have been active since 2016. Most of the air monitors are situated near, or within,

the 1.5-mile buffer. Both Denka and EPA installed monitors at the Levee site, which is closest to

the Denka Facility, situated just outside of the 0.5-mile buffer (because they are so close together,

the indicators for these two monitors overlap on the figure above). The monitors at the Chad Baker


10
  The blue squares represent the sites of the EPA’s 24-hour air monitoring network that was
active from 2016 to 2020. The pink circles represent the sites of Denka’s 24-hour air monitoring
network that was installed in 2016 and remains active.



                                                 14
site and Fifth Ward Elementary School are within the 1.0-mile buffer and are the closest to a

residential area. The monitor at Edgard is the farthest away from the Denka Facility, falling just

outside the 2.5-mile buffer.

     B. Estimated Population Within Designated Buffer Areas (1.0, 1.5, 2.0, and 2.5-Mile
        Radius) Surrounding the Denka Facility.

        22.     As explained below, I estimate that the total population living within 2.5-miles of

the Denka Facility is approximately 15,000 to 17,000 people; the total population within 2.0-miles

of the Facility is approximately 9,000; the total population within 1.5 miles of the Denka Facility

is approximately 3,000; and the total population within 1.0-mile of the Denka Facility is

approximately 800 to 1,000. There does not appear to be any residences within 0.5 miles of the

Denka Facility, again as measured from a selected point within the Facility rather than from the

Facility fence line.

        23.     It is challenging to derive precise, small-area population counts. First, the U.S.

Census Bureau is the main source of population data in the country, but a full enumeration only

happens every 10 years, and intercensal estimates are released annually. There are concerns about

data privacy, which, if compromised, may reveal the identity of individuals. These concerns

prevent the public release of non-geographically bounded or geocoded data at the individual level.

Therefore, demographic methods and geographic techniques, or a hybrid of the two, are employed

to account for these data limitations.11

        24.     There are several methods that demographers use to estimate the population

contained in an area that does not conform to the boundaries of a single census defined area such



11
   Deng, Chengbin, and Changshan Wu. (2013). Improving small-area population estimation: An
integrated geographic and demographic approach. Annals of the Association of American
Geographers, 103(5), 1123-1141.

                                                15
as a census tract or a block group. I considered three separate methods here, the polygon

containment method, the centroid containment method, and the buffer containment method.12

I elected to use the buffer containment method because, in my professional opinion, it is more

accurate than the polygon and centroid containment methods, and the buffer containment method

is less likely to produce an overestimate of the population living in the selected area compared to

the polygon containment method. To further improve the accuracy of my estimates, I then

manually adjusted the population count for census tracts that partially fall within the buffer using

block group data. These methods are detailed below.

       24.     The polygon containment method is used to calculate the total population of a

distance-based buffer (e.g., a 2.5-mile circle) by analyzing the population characteristics of all

census tracts that are either intersected or entirely enclosed by the buffer.13 In other words, to

estimate the population within a given buffer, I would add the total population of each census tract

that is either completely or partially within the designated buffer area. The polygon containment

method therefore overestimates the population of the buffer area because it does not attempt to

account for the fact that, if a census tract falls only partially within the buffer, some percentage of

that census tract’s population likely lives outside of the buffer. However, the method requires less

technical and statistical tools to derive at a population estimate.



12
   These methods are discussed in detail in: Chakraborty, J., & Maantay, J. A. (2011). Proximity
Analysis for Exposure Assessment in Environmental Health Justice Research. Geospatial
Analysis of Environmental Health (pp. 111–138). Springer Netherlands.
https://doi.org/10.1007/978-94-007-0329-2_5; and Chakraborty, J., & Armstrong, M. P. (1997).
Exploring the Use of Buffer Analysis for the Identification of Impacted Areas in Environmental
Equity Assessment. Cartography and Geographic Information Science, 24(3), 145–157.
https://doi.org/10.1559/152304097782476951
13
  Chakraborty, J., & Maantay, J. A. (2011). Proximity Analysis for Exposure Assessment in
Environmental Health Justice Research. In Geospatial Analysis of Environmental Health (pp.
111–138). Springer Netherlands. https://doi.org/10.1007/978-94-007-0329-2_5
                                                  16
        25.     Another method for estimating the population of a buffer is the centroid

containment method. In this method, the population of a census tract is included in the total

population count only if the geographic center point, or “centroid,” of the census tract falls within

the buffer. If the centroid within a tract does not fall within the buffer, then the entire population

of that census tract is omitted from the population estimate. For this reason, the centroid

containment method could lead to inaccurate population estimates if the population of the census

tracts are not concentrated near the centroid.14

        26.     The buffer containment method, also referred to as the areal apportionment method,

estimates the population in a given buffer by applying areal weights to census tracts based on the

proportion of the tract’s geographic area that falls within the buffer.15 Using this method, I first

identified each census tract that falls partially or entirely within the buffer I was analyzing (e.g., a

2.5-mile circle around the Denka Facility). I then used ArcGIS to determine, for each census tract,

what percentage of its land area fell within the buffer. For each census tract, I would then multiply

that areal percentage by the census tract’s land area that is contained within the 2.5-mile buffer by

the total population of the entire census tract to estimate the number of people from that tract living

within the buffer. I then added the population estimates I generated for each tract to get a total

population estimate for the buffer.16




14
   Ibid.
15
   Ibid.
16
   This method and mathematical equation are detailed in Chakraborty, J., & Armstrong, M. P.
(1997). Exploring the Use of Buffer Analysis for the Identification of Impacted Areas in
Environmental Equity Assessment. Cartography and Geographic Information Science, 24(3),
145–157. https://doi.org/10.1559/152304097782476951




                                                   17
        27.     The buffer containment method is a more accurate and reasonable method for

estimating population count than the polygon containment method or the centroid containment

method, but this method also has limitations. Specifically, the buffer containment method assumes

that the population within each census tract is distributed homogenously within the tract boundary.

Because human populations tend to be unevenly distributed, however, the buffer containment

method may either over- or underestimate the population attributable to a buffer by census tracts

that fall only partially within the buffer. Despite this limitation, the buffer containment method

offers substantial improvement over other population estimation methods and is the most widely

used by demographers.17 As discussed above, I conclude that the buffer containment method is the

most reliable and commonly used method to estimate the population within a relatively small area

– in this case, within a 0.5, 1.0, 1.5, 2.0, and 2.5-mile radius of the Denka Facility – because it does

not overestimate the population as significantly as the polygon containment method, and it does

not presume that the population is concentrated in the center of the census tract like the centroid

containment method.

        28.     To account for the limitations of the buffer containment method—i.e., over- or

underestimating population based on assumed homogeneity in residential patterning across the

census tracts—I then further refined my buffer containment analysis by evaluating the residential

patterning of all block groups within census tracts that were partially within the buffers18 and

manually adjusted the population of those census tracts based on the location of residential units


17
  Chakraborty, J., & Maantay, J. A. (2011). Proximity Analysis for Exposure Assessment in
Environmental Health Justice Research. Geospatial Analysis of Environmental Health (pp. 111–
138). Springer Netherlands. https://doi.org/10.1007/978-94-007-0329-2_5
18
  I did not derive a population estimate for the 0.5-mile buffer because, based on my visual
observations in Google Maps and Google Earth, there appear to be no residences within that
buffer.

                                                  18
located within each block group. More specifically, I counted the number of residential rooftops

partially contained within the relevant buffer zone using Google Maps and high-resolution satellite

imagery in Google Earth.19 I then extracted housing unit data at the block group level (for the 2010

and 2020 Decennial Census and the 2021 ACS) and divided the number of residential rooftops

that I counted within the buffer that overlays the block group boundaries by the total number of

housing units in the block group. Finally, I multiplied that number (percentage) by the total

population of the block group to arrive at an estimated population for the area within the buffer.

By making manual adjustments to my buffer containment method calculations based on observed

residential units, I was able to more accurately estimate the total population living within each

buffer.

          29.   For the 2.5-mile buffer, shown above in Figure 5, I estimate the total population to

be approximately 15,000 to 17,000 people. I arrived as this population count by estimating the

total population using the buffer containment method with manual adjustments using data from

the 2010 and 2020 Decennial Censuses, and the 2021 American Community Survey. The Denka

Facility is located on the border of Census Tracts 708 and 709. These two census tracts fall

completely within the 2.5-mile buffer, and their entire populations (recorded as 5,652 and 4,715

in the 2010 and 2020 decennial census and 5,125 in the ACS) are reflected in the estimate for the

2.5-mile buffer, together with the estimated populations for the census tracts falling partially within

the 2.5-mile buffer. Using the buffer containment method, I calculated that 9,000 to 10,000

residents (compared to more than 30,000 residents using the polygon containment method,

described above) live within the 2.5-mile buffer. Then, I made manual adjustments to the


19
  I have used Google Earth and Google Maps in previous demographic analysis to evaluate the
conditions “on the ground” when time and/or resources were not available for me to physically
visit a place. This has allowed me to assess what seemed to be anomalies in population data.

                                                  19
population count based on counting rooftops within each buffer zone using high-resolution

imagery, which is described in more detail above. The data I used to produce this estimate is

contained in Tables 1 through 3, 6, 7 at the end of this declaration.20

       30.      Using the same methodology, I estimated total populations for the other buffer

zones, as follows:

             a. I estimate that the 0.5-mile buffer has no residents. (Supporting data shown in

                Tables 3 and 4 at the end of this declaration).

             b. Approximately 800 to 1,000 people live within the 1.0-mile buffer. (Supporting

                data shown in Tables 3 and 4 at the end of this declaration).

             c. Approximately 3,000 people live within the 1.5-mile buffer. (Supporting data

                shown in Table 3 and 4 at the end of this declaration).

             d. Approximately 9,000 people live within the 2.0-mile buffer. (Supporting data

                shown in Tables 3 and 5 at the end of this declaration).

       31.      Table 1, which appears at the end of this declaration, shows the full population

count for each census tract that falls within the 2.5-mile buffer based on the 2010 and 2020

decennial censuses and the 2021 American Community Survey, and the estimated population those

tracts contribute to the 2.5-mile buffer using the buffer containment method and the polygon

containment method. Table 2 compares the population estimates for the 2.5-mile buffer using the

buffer containment and polygon containment methods with the estimated population I calculated

after making manual adjustments, as described above. The difference in the estimated population

derived from the buffer containment method and the manually adjusted population count reflects



20
  The tables feature the raw data for total population and housing units that I used to determine
the weights to estimate the population within the 2.5-mile buffer.

                                                 20
the limitations of basing population estimates solely on the proportion of a census tract that falls

partially within a buffer. Combining the use of the buffer containment method with manual

adjustments based on the number of housing units and residential rooftops within the buffer zone

provides a more accurate population estimate.

   B. Age Distribution of the Population Surrounding the Denka Facility.

       32.     The population living within 2.5 miles of the Denka Facility includes a significant

number of children. Using 2020 Census data, together with data from the 2016 and 2020 American

Community Surveys (ACS), I estimate that children under the age of 18 represent 20 to 25 percent

(approximately 3,000-4,000) of the total population of the 2.5-mile buffer (approximately 15,000-

17,000). Children under the age of five represent about five to seven percent of the population

(approximately 800-1,000), while children five to 17 represent 15 to 18 percent (approximately

2,000-3,000). These estimates are comparable to, though slightly less than, the proportional share

of the various age cohorts reported in the 2010 Census.

       33.     In forming my conclusions regarding age distribution, I rely on data from the 2010

Decennial Census, which was based on a full population sample and provided population counts

for 12 age-ranges (including children under five and children five to 17). I also rely on data from

the 2016 and 2020 ACS, which also provide age-ranges for children under 18. I rely on the 2020

Decennial Census to the extent that it reports the numbers above and below age 18. However, the

U.S. Census Bureau did not release data on different age cohorts below 18 in the 2020 Census, so

I was not able to use the 2020 data to estimate the subpopulations of children under the age of 18

(i.e., children under five and children five to 17).

       34.     The 2021 ACS contains the most recent data available from the U.S. Census

Bureau. I rely on the 2021 ACS to estimate the total population of the buffers, as noted in my



                                                  21
conclusions above. However, when I evaluated age distribution data from the 2021 ACS for all

census tracts fully and partially contained within the 2.5-mile buffer, I noticed an anomaly in the

data reported for the number of children who live in tract 708, specifically. The 2021 ACS reports

that there are only 174 children under the age of 18 in that tract, which is a decline of almost 58

percent from the number of children under 18 reported in the previous year’s 2020 Census, and a

decline of 77 percent from the population of children reported in the 2010 Census. I also compared

the 2021 ACS to the 2016 ACS, as recommended by the U.S. Census Bureau, and observed that

the dramatic decline in the number of children reported in the 2021 ACS (specifically in census

tract 708) is also apparent when comparing the two surveys.21 This further suggests that the 2021

ACS data for the different age cohorts, in particular, is likely significantly undercounting children

under the age of 18.22 The anomaly in the data may be due to non-sampling or sampling errors in

the ACS23, or due to “changes to the weighting methodology implemented to address nonresponse




21
  U.S. Census Bureau. (n.d.). Comparing 2012-2016 ACS 5-year and 2017-2021 ACS 5-year.
Retrieved February 26, 2023, from https://www.census.gov/programs-
surveys/acs/guidance/comparing-acs-data/2021/5-year-comparison.html. The Census Bureau
recommends this because of non-response bias from the 2020 ACS sample, and methodological
adjustments implemented to address this bias in the sampling frame.
22
  I continue to include 2021 ACS data when estimating the full population count of the buffer
areas because, when comparing the population count to the 2010 and 2020 Census and the 2020
ACS, there appears to be little variation in the data across sources. The fact that the 2021 ACS
data for age distribution appears to be skewed for tract 708 does not affect my confidence in the
data for use in estimating the full population count.
23
   U.S. Census Bureau. (2020). Understanding and Using American Community Survey Data:
What All Data Users Need to Know. Retrieved February 26, 2023, from
https://www.census.gov/programs-surveys/acs/library/handbooks/general.html
                                                 22
bias issues in the 2020 data,”24 that may yield an undercount of young children.25 Therefore, I do

not rely on the 2021 ACS for age cohorts, and instead use Decennial Census data and 2016 and

2020 ACS data to derive population estimates for the cohorts of children under the age of 18.

       35.     In estimating the total number of children living within the 2.5-mile buffer, I relied

on population data for census tracts 708 and 709 (which are entirely within the buffer), as well as

for all other tracts partially contained within the 2.5-mile buffer zone. The percentage of children

reported in the 2020 Decennial Census, as well as in the 2016 and 2020 ACS, were comparable

across census tracts and survey years. Therefore, I applied a range of 20 to 25 percent to the total

population within the 2.5-mile buffer to estimate the total number of children who are under the

age of 18. This range represents the percentage of children that I observed across nearly all census

tracts within the 2.5-mile buffer in the 2020 Census, the 2020 ACS, as well as the 2016 ACS. The

numeric value for each tract across all three data sources confirmed my confidence in selecting

this range to calculate the percentage of children in the 2.5-mile buffer zone.

       36.     The data reported in the 2010 Census supports my conclusion that the total

percentage of children under the age of 18 within the 2.5-mile buffer likely ranges from 20 to 25

percent, based on population trends since the 2010 Census. For instance, the 2010 Decennial

Census showed that 26 percent (approximately 8,743 children) of residents of all census tracts

partially or fully contained within the 2.5-mile buffer are children under 18, and about 30 percent

of residents in tracts 708 (30 percent, or about 748 children) and 709 (29 percent, or about 889



24
  U.S. Census Bureau. (n.d.). Comparing 2012-2016 ACS 5-year and 2017-2021 ACS 5-year.
Retrieved February 26, 2023, from https://www.census.gov/programs-
surveys/acs/guidance/comparing-acs-data/2021/5-year-comparison.html
25
  U.S. Census Bureau. (n.d.). Despite Efforts, Census Undercount of Young Children Persists.
Retrieved February 26, 2023, from https://www.census.gov/library/stories/2022/03/despite-
efforts-census-undercount-of-young-children-persists.html
                                                 23
children) are children under the age of 18. The 2020 Decennial Census showed children with a

somewhat reduced share of the total population, with approximately 23 percent of children under

the age of 18 averaged across all census tracts, including 21 percent in tract 708 (413 children) and

22 percent (624 children) in tract 709.

       37.      I employed a similar methodology as above to derive the percentage of children

under five and between five and 17. Using the 2016 and 2020 ACS, I reviewed the proportional

share of the subpopulations of children in each census tract partially or fully within the 2.5-mile

buffer. I found that, across nearly all census tracts – including tracts 708 and 709 – the proportional

share of children under five and children five to 17 fall within approximately the same range: five

to seven percent for children under five, and 15 to 18 percent for children five to 17. These ranges

are comparable across both the 2016 and 2020 ACS. Thus, to estimate the subpopulations of

children, I apply the ranges found across the census tracts, as reported by the 2016 and 2020 ACS.

Accordingly, I estimate that five to seven percent of the total population within the 2.5-mile buffer

are children under five (approximately 800-1,000), and 15 to 18 percent are children five to 17

(approximately 2,000-3,000). I reviewed the 2010 Census data on the same age groups for

purposes of comparison.

       38.      The population data shown in Figure 8, below, shows the age distribution of all the

census tracts partially and completely within the 2.5-mile buffer, as well as the two census tracts

immediately surrounding the Denka Facility from the 2010 Decennial Census. As reflected in the

2010 data, children under the age of five represented approximately seven percent overall, and

about nine percent within tracts 708 and 709, respectively. Children between five and 17

represented approximately 19 percent overall, and about 21 and 20 percent in tracts 708 and 709

respectively.



                                                  24
Figure 8: Age Distribution of all Residents in Census Tracts 708 and 709 and all Tracts
within 2.5 Miles of the Denka Facility, 2010 Census




                                                                                15.3%




                                                                                                                    15.2%
                                                                                                            14.5%
                                                                            13.2%
                                                                                    13.1%



                                                                                                    12.8%




                                                                                                                                  11.9%
                                                                                                11.6%



                                                                                                                11.1%
                                                                 11.0%




                                                                                                                               11.0%
                                                                 10.9%




                                                                                            10.4%




                                                                                                                            10.1%
                                                                     9.3%
                         8.7%
                        8.6%




                                     8.6%
                                  7.8%



                                               7.5%
                                              7.4%
                    7.2%



                                7.1%


                                             7.0%
         PERCENT




                                                                                                                                             6.8%
                                                                                                                                           6.3%
                                                                                                                                          6.0%
                                                          5.7%
                                                       4.7%
                                                      4.3%




                                                                                                                                                       3.9%
                                                                                                                                                      3.5%
                                                                                                                                                     3.2%


                                                                                                                                                                   2.2%
                                                                                                                                                                1.3%
                                                                                                                                                               1.0%
                                                                                                                                          65 and               85 and
                   Under 5      5 to 9      10 to 14 15 to 17 18 to 24 25 to 34 35 to 44 45 to 54 55 to 64                                          75 to 84
                                                                                                                                            74                  over
     Tract 708      8.6%        7.8%         7.5%     5.7%       11.0%      13.2%           10.4%           14.5%           11.0%         6.0%       3.5%      1.0%
     Tract 709      8.7%        8.6%         7.0%     4.3%       10.9%      15.3%           11.6%           11.1%           10.1%         6.3%       3.9%      2.2%
     All Tracts     7.2%        7.1%         7.4%     4.7%       9.3%       13.1%           12.8%           15.2%           11.9%         6.8%       3.2%      1.3%




        39.          The post-2010 age distribution data for all census tracts fully or partially contained

within the 2.5-mile buffer, compared with the age distribution data of just the tracts that are fully

contained within the buffer (tracts 708 and 709), strongly suggest that the distribution of children

under the age of 18 within the 2.5-mile buffer is likely between 20 and 25 percent. This range

represents somewhat of a decline from the 2010 Census data, which reflects the overall trends in

population since 2010. The data also suggest that the respective proportion of the populations

under the age of five and between ages five and 17 is also likely somewhat less than what was

reported in the 2010 Census.

        40.          Adults who are age 65 years and older represent about 14 percent of the total

population among all census tracts within 2.5-miles of the Denka Facility according to 2020 ACS

data, which is an increase from 11 percent reported in the 2010 Census. The 65 and older

                                                                    25
population is also the only age cohort that showed an increase (+689) in the absolute number of

persons since 2010. This likely reflects an aging population, which aligns with national trends, due

to the relatively large Baby Boomer population (i.e., the generation born in 1946-1964). In tract

708, the 65 and older population is 15 percent of the total population according to the 2020 ACS,

compared to 11 percent reported in the 2010 census. In tract 709, the 65 and older population is

12 percent according to both the 2010 Census and 2020 ACS.

       41.     The total population breakdown for census tracts 708 and 709 is shown in Figure

9, below. The figure reflects data from the 2020 ACS.26 As noted above, children under 18

comprise slighly less of the population than what was reported in the 2010 Census. Cumulatively,

children under five represent approximately seven percent of the population of tracts 708 and 709

in the 2020 ACS (compared with approximately nine percent in the 2010 Census), and children

five to 17 represent approximately 18 percent of the population of tracts 708 and 709 in the 2020

ACS (compared with approximately 20 percent in the 2010 Census).




26
   Although I reviewed the 2016 ACS data in forming my estimates for the different age cohorts,
I do not report the 2016 ASC data here because the data reported in the 2016 and 2020 ACS are
fairly consistent across all census tracts, including tracts 708 and 709. Therefore, I report only
the most recent ACS data.

                                                26
Figure 9A: Age cohorts of residents living in tracts 708 and 709, 2020 ACS



                                         7%
                             13%



                                                        18%

                                                                               Children under 5
                                                                               Children ages 5 to 17
                                                                               Adults 18-64
                                                                               Adults 65+




                            62%




Figure 9B: Age cohorts of residents living in tracts 708 and 709, 2010 Decennial Census

                                 12%          9%




                                                          20%
                                                                                  Children under 5
                                                                                  Children age 5-17
                                                                                  Adults 18-64
                                                                                  Adults 65+




                           59%




       42.     Given the data from the 2010 Census and 2020 ACS for census tracts 708 and 709,

– the two tracts contained entirely within the 2.5 mile buffer – together with data for all tracts


                                                   27
partially within the 2.5-mile buffer, I estimate that approximately 20 to 25 percent (about 3,000-

4,000) of the total population living within 2.5 miles of the Denka Facility (about 15,000-17,000)

are children under the age of 18, with children under five comprising approximately five to seven

percent (about 800-1,000) of the population, and children five to 17 comprising approximately 15

to 18 percent (about 2,000-3,000).

        43.    Overall, the population surrounding the Denka Facility is growing older as the

proportion of the total population who are 65 and older has increased. Since 2010, a smaller

percentage of the total population are children; however, children still represent a significant

proportion of residents living within the 2.5-mile buffer –approximately 20 to 25 percent of the

total population.

     C. Composition of the Student Population at the Elementary and High Schools Located
        Within 2.5-Miles of the Denka Facility.
        44.    There are three schools within 2.5-miles of the Denka Facility. Figure 10, below,

shows the location of the Fifth Ward Elementary School (less than 1.0 mile from the Denka

Facility), East St. John Preparatory Academy (formerly East St. John Elementary School) (slightly

more than 1.0 mile from the Denka Facility), and East St. John High School (less than 2.0 miles

from the Denka Facility). In the most recent year of data reported (2022-2023 school year),27 there

were 318 students enrolled in kindergarten through 4th grade at Fifth Ward Elementary School;

1,252 students enrolled in 9th through 12th grade at East St. John High School; and 358 students

enrolled in 5th through 8th grade at East St. John Preparatory Academy.




27
   Louisiana Department of Education’s Student Attributes. (October 2022).
 (https://www.louisianabelieves.com/resources/library/student-attributes) accessed on 2023,
January 30.

                                                28
Figure 10: St. John the Baptist School Enrollment Zone Map28




28
   St. John the Baptist School Boundaries Map
https://www.stjohn.k12.la.us/apps/pages/index.jsp?uREC_ID=534949&type=d&pREC_ID=1046
461, accessed on 2023, February 17.

                                          29
       45.     According to the most recently reported data for the 2022-2023 academic year,

there are 318 students who attend Fifth Ward Elementary School, which is just slightly beyond the

0.5-mile buffer of the Denka Facility. The school zone boundaries map for St. John the Baptist

School district, shown in Figure 10, shows that most elementary-aged children living within the

2.5-mile buffer would likely be zoned to attend Fifth Ward Elementary School. Some children

who live within the 2.5-mile buffer would also be zoned for East St. John Preparatory Academy

(situated within the 2.5-mile buffer), LaPlace Elementary School, West St. John Elementary, or

Emily C. Watkins Elementary.

       46.     According to data from the Louisiana Department of Education,29 the racial and

ethnic composition of each of the three schools within 2.5-miles of the Denka Facility shows a

prominent minority student population. During the 2022-2023 academic year, approximately 77

percent of students (244) at Fifth Ward Elementary School identified as Black. For the same

academic year, 56 students identified as Hispanic, 14 identified as White, three identified as

multiple races, and one identified as Asian.

       47.     At East St. John High School, approximately 73 percent (913) of students identified

as Black during the 2022-2023 school year. For the same year, 193 students identified as Hispanic,

117 identified as White, 24 identified as multiple races, and five identified as Asian.

       48.     At East St. John Preparatory Academy, about 79 percent (283) of students identified

as Black during the 2022-2023 school year. For the same year, 40 students identified as Hispanic,

19 identified as White, 11 identified as multiple races, 3 students identified as Asian, and two

identified as American Indian.


29
   Louisiana Department of Education’s Student Attributes. (October 2022).
 (https://www.louisianabelieves.com/resources/library/student-attributes) accessed on 2023,
January 30.

                                                 30
    D. Residential Tenure

        49.     The overall population of the tracts closest to the Denka Facility has declined in the

last 10 to 30 years, but there is some evidence that those who live in the area have been there for

many years. The 2021 ACS reveals that more than half (51 percent) of households in tracts 708

moved into their residence in 1999 or earlier, including 36 percent of households who have been

in their home for more than three decades (since 1989 or earlier). Less than 4 percent of households

in tract 708 moved into their residence in 2019 or later. In contrast, about 50 percent of households

in tract 709 moved into their residence in 2009 or earlier, and only 5 percent of households in tract

709 moved into their residence in 2019 or later. At the least, the data indicates that the majority of

the population in those tracts has resided near the Denka Facility for a decade or more, especially

so in tract 708, the tract that is closest to the Denka Facility.

        50.     I also reviewed 12 years of annual 5-year estimates from the ACS, which includes

a question asking residents about their residential status one year prior. From these responses, on

average, across the 12-year time-period, approximately 92 percent of residents in tract 708 and

approximately 85 percent of residents in tract 709 reported that they were in the house one year

prior, compared to about 86 percent among all residents of Louisiana and 90 percent among

residents of St. John the Baptist Parish. This strongly suggests that the annual rate of residential

migration is relatively low among residents living closest to the Denka Facility– meaning residents

in these communities are relatively likely to stay in the same home year after year.

    E. Socioeconomic and Racial/Ethnic Composition of the Residential Communities
       Surrounding the Denka Facility

        51.     According to the 2021 ACS data, the median household income in tract 708 is

$34,653 and $45,781 in tract 709, both of which are lower than the state’s ($53,571) and county’s

($60,743) median household income. Approximately 50 percent of children in tract 708 and about

                                                   31
12 percent of children in tract 709 live below the federal poverty line. The rate of child poverty in

tract 708 is higher than the state (roughly 26 percent) and parish (roughly 18 percent) averages.

        52.    The 2021 ACS data reflects that 56 percent of residents (17,391) in all census tracts

that are completely or partially within the 2.5-mile buffer are Black. Non-Hispanic Black residents

make up the majority of the population in four of the eight census tracts that are completely or

partially within the 2.5-mile buffer of the Denka Facility. Tracts 708 (located west of the Denka

Facility) and 711 (located southwest of the Facility) have the highest concentration of non-

Hispanic Black residents (approximately 93 and 82 percent, respectively) compared to all other

tracts. In addition, more than two thirds of the residents living in Census Tracts 709 (located east

of Denka) and 705 (located northeast of Denka) are non-Hispanic Black (approximately 69 and 70

percent, respectively). The remaining four tracts have a Black population that ranges from about

28 percent to 43 percent.



     F. Life Expectancy in the Residential Communities Surrounding the Denka Facility.

        53.    The National Center for Health Statistics, which is a division of the Centers for

Disease Control, has published life expectancy at birth by state, county, and census tract for the

period 2010-2015.30 The data reveals that the life expectancy for the two tracts that are completely

within the 2.5-mile buffer is approximately 71 years in tract 708 and 73 years for tract 709. Both




30
  Tejada-Vera B, Bastian B, Arias E, Escobedo LA., Salant B, Life Expectancy Estimates by
U.S. Census Tract, 2010-2015. National Center for Health Statistics. 2020.

                                                 32
Table 1: Population and geographic characteristics used to calculate exposed population in 2.5-mile buffer surrounding Denka Facility, by
census tract, 2020 Decennial Census
                                                                                            Est. Population            Est. Population
                                           Total Square Miles          Percentage       Polygon Containment          Buffer Containment
Census Tract        Total Square Miles        within Buffer          Coverage Area              Method                     Method
Tract 708                  2.31                     2.31                100.00%                   1,930                     1,930
Tract 709                  2.94                     2.94                100.00%                   2,785                     2,785
Tract 705                  9.60                     2.63                 27.36%                   6,414                     1,755
Tract 710                  4.11                     0.98                 23.93%                   2,594                      621
Tract 703                  1.57                     0.27                 17.32%                   6,123                     1,060
Tract 707                  10.87                     1.5                 13.79%                   3,424                      472
Tract 711                  91.71                    7.86                  8.57%                   2,951                      253
Tract 704                  1.60                     0.09                  5.36%                   4,305                      231
Total                       125                      19                                          30,526                     9,107




            Table 2: Estimated population in the 2.5-mile buffers surrounding Denka Facility by method

                                 Polygon Containment Buffer Containment         BCM with Manual
                                 Method              Method (BCM)               Adjustment
            2010 Census                 33,106                  10,517                    16,706
            2020 Census                 30,526                   9,107                    14,881
            2017-2021 ACS               30,990                   9,578                    14,934




                                                                      34
Table 3: Estimated Population surrounding Denka Facility, by Census data and
buffer zone
                                    2010 Census 2020 Census 2017-2021 ACS
0.5-mile buffer Total Population              0               0                0
                  Census Tract 708            0               0                0
                  Census Tract 709            0               0                0
1.0-mile buffer Total Population          1,327           1,024              793
                  Census Tract 708        1,268             970              736
                  Census Tract 709           59              54               57
1.5-mile buffer Total Population          3,935           3,149            2,984
                  Census Tract 708        2,321           1,743            1,506
                  Census Tract 709        1,464           1,257            1,329
                  Census Tract 707           51              51               51
                  Census Tract 711           98              98               98
2.0-mile buffer Total Population          9,141           8,888            9,135
                  Census Tract 708        2,537           1,930            1,664
                  Census Tract 709        2,693           2,397            3,053
                  Census Tract 705        2,922           3,231            3,392
                  Census Tract 710            0               0                0
                  Census Tract 707          849             766              566
                  Census Tract 711          140             565              461
2.5-mile buffer Total Population         16,706         14,881            14,934
                  Census Tract 708        2,537           1,930            1,664
                  Census Tract 709        3,115           2,785            3,461
                  Census Tract 705        5,292           5,512            5,638
                  Census Tract 710          305             373              392
                  Census Tract 703          325             285              298
                  Census Tract 707        3,478           2,665            2,460
                  Census Tract 711        1,251             980              600
                  Census Tract 704          404             352              420



                                                                    35
Table 4: Estimated population for 0.5-to 1.5-mile buffer surrounding Denka Facility, by tract, block group, and data source
                                                              2017-                      2017-
                              Within         2010     2020    2021     2010     2020     2021
                            buffer zone     Census   Census    ACS    Census   Census     ACS       Notes for Manual Adjustment

         Census Tract 708                    2,537    1,930   1,664
 0.5-       Block Group 1   Yes   Partial    1,081      808     599                                 no residential rooftops lie within 0.5-mile buffer
 mile       Block Group 2   No      N/A      1,456    1,122   1,065
buffer   Census Tract 709                    3,115    2,785   3,461
            Block Group 1   No      N/A      1,281      899   1,224
            Block Group 2   Yes   Partial    1,834    1,886   2,237                                 no residential rooftops lie within 0.5-mile buffer

         Census Tract 708                    2,537    1,930   1,664
                                                                                                    all residential rooftops between East 31st St. and East 24th St. in BG are within 1-mile buffer,
  1-
            Block Group 1   Yes   Partial    1,081      808     599   100.0%   100.0%   100.0%      small land area outside of block group is the Entergy Substation
 mile
            Block Group 2   Yes   Partial    1,456    1,122   1,065    12.9%    14.5%    12.9%      area between most of Ivy Ct. (11) to E. 23rd St. (61) overlaps with 1.0-mile buffer
buffer
         Census Tract 709                    3,115    2,785   3,461
            Block Group 1   No      N/A      1,281      899   1,224
            Block Group 2   Yes   Partial    1,834    1,886   2,237     3.2%     2.9%        2.5%   19 rooftops along West 5th St. lie within 1-mile buffer
         Census Tract 708                    2,537    1,930   1,664
            Block Group 1   Yes      Full    1,081      808     599   100.0%   100.0%   100.0%
                                                                                                    all but 83 residential rooftops along Homewood Place in northern area of BG lie within 1.5-
            Block Group 2   Yes   Partial    1,456    1,122   1,065    85.2%    83.3%    85.1%      mile buffer
         Census Tract 709                    3,115    2,785   3,461
                                                                                                    183 rooftops from Ash to Birch (122), 5 James Ct., Phoenix Lane (4), W 22nd St. (4), Apricot
            Block Group 1   Yes   Partial    1,281     899    1,224    38.3%    40.3%    31.7%      (23), Apple St. (2), and 5th W. St N
                                                                                                    316 rooftops along Belle Point/Breaux.part of Herbert (43), Herbert Drive (23), Riverpoint
            Block Group 2   Yes   Partial    1,834    1,886   2,237    53.1%    47.4%    42.1%      (109), Ory Dr. (63), Cortez (27), Coles Landing (32), W 5th St. N (19)
 1.5-    Census Tract 707                    4,348    3,424   3,457
 mile       Block Group 1   No      N/A        870      759     997
buffer      Block Group 2   No      N/A      2,162    1,106   1,205
                                                                                                    very small area of 1.5-mile buffer overlaps HWY-44 along river, no residential rooftops, just
            Block Group 3   Yes   Partial      673      987     863     0.0%     0.0%     0.0%      roadway
            Block Group 4   Yes   Partial      643      572     392     7.9%     8.9%    13.0%      51 rooftops along NE 12th St. lie within 1.5-mile buffer
         Census Tract 711                    3,398    2,951   2,781
            Block Group 1   No      N/A        921      980   1,491
            Block Group 2   No      N/A      1,210      978     685
            Block Group 3   No      N/A        621      455     104
                                                                                                    buffer includes 98 residential rooftops along HWY18 (1), John Pierre (2), Rodrigue Ct. (1), Goldmire (Ct &
                                                                                                    Plantation) (5), E 11th St. (16), Water Tower Lane to Old Barre (17), to Lucy Lane (22), E 12th St. (14), ad E
            Block Group 4   Yes   Partial      646     538     501     15.2%    18.2%    19.6%      13th St. (20)




                                                                                        36
Table 5: Estimated population for 2.0-mile buffer surrounding Denka Facility, by tract, block group, and data source
                        Within
                       2.0-mile                    2017-
                        buffer      2010   2020    2021     2010     2020    2017-2021
                         zone      Census Census    ACS    Census   Census      ACS                                            Notes for Manual Adjustment
Census Tract 708                  2,537   1,930    1,664
 Block Group 1 Yes        Full    1,081     808      599   100.0%   100.0%   100.0%
 Block Group 2 Yes        Full    1,456   1,122    1,065   100.0%   100.0%   100.0%
Census Tract 709                  3,115   2,785    3,461
 Block Group 1 Yes        Full    1,281     899    1,224   100.0%   100.0%   100.0%
                                                                                      all except 137 residential rooftops along Hackberry (12), Holly Drive (30), Mahogony (15), Maple (17),
 Block Group 2 Yes     Partial    1,834    1,886   2,237    77.0%    79.4%    81.8%   Lilly (13), Cottonwood (7), W 5th St. (12), Bradford (17), Persimmon (14)
Census Tract 705                  6,229    6,414   6,513
                                                                                      all except for 305 residential rooftop and RVs --Emma Dr. (13), Central (35), 98 RVs, East 12th St. 32
                                                                                      Apartment Units at Willow Ridge, 86 rooftops b/t NW 3rd and Cedar/Goshen, Cypress (13), Big Lou Ave
 Block Group 1   Yes   Partial    2,296    2,400   2,792    61.3%    67.0%    64.7%   (9)
                                                                                      all except 519 residential rooftops including area between Tiffany and North Sugar Ridge (444) and
 Block Group 2   Yes   Partial    1,640    2,516   2,285     9.3%    44.0%    44.0%   Foxwood (75)
                                                                                      all except for 352 residential rooftops at Grove Park (25) and residential area between Magnolia and
 Block Group 3 Yes     Partial    2,293    1,498   1,436    59.4%    34.6%    40.4%   Gardenia (327)
Census Tract 710                  2,840    2,594   2,660
 Block Group 1 Yes     Partial    1,456    1,240   1,206     0.0%     0.0%     0.0%   small area of buffer overlaps BG, but only tree canopy, no residential rooftops
 Block Group 2 No        N/A      1,384      523     531     0.0%     0.0%     0.0%
 Block Group 3 No        N/A          --     831     923        0     0.0%     0.0%
Census Tract 707                  4,348    3,424   3,457
 Block Group 1 No        N/A        870      759     997     0.0%     0.0%     0.0%
 Block Group 2 Yes     Partial    2,162    1,106   1,205     0.0%     0.0%     0.0%
 Block Group 3 Yes     Partial      673      987     863    30.6%    19.6%    20.1%   96 residential rooftops between Central Ave and W 1st St.
                                                                                      small portion northwest area of BG is outside of buffer along Central Ave, but it all appears to be retail or
 Block Group 4 Yes     Partial      643      572     392   100.0%   100.0%   100.0%   other businesses so full population should be included in manual adjustment
Census Tract 711                  3,398    2,951   2,781
 Block Group 1 No        N/A        921      980   1,491     0.0%     0.0%     0.0%
 Block Group 2 No        N/A      1,210      978     685     0.0%     0.0%     0.0%
 Block Group 3 Yes     Partial      621      455     104    22.6%    24.9%    41.4%   60 residential rooftops between Lapeyrolerie and George St.
                                                                                      All houses northern area of BG so most of 2.0-mille buffer intersects except for 41 residential rooftops
 Block Group 4   Yes   Partial      646     538     501     85.1%    83.9%    83.4%   also HWY18 and E1 4th St.




                                                                              37
Table 6: Estimated population for 2.5-mile buffer surrounding Denka Facility, by tract, block group, and data source
                                                              2017-                            2017-
                    Within 2.5-mile      2010        2020     2021      2010      2020         2021
                     buffer zone        Census      Census     ACS     Census    Census         ACS     Notes for Manual Adjustment
Census Tract 708                           2,537      1,930    1,664
    Block Group 1     Yes        Full      1,081        808      599
    Block Group 2     Yes        Full      1,456      1,122    1,065
Census Tract 709                           3,115      2,785    3,461
    Block Group 1     Yes        Full      1,281        899    1,224
    Block Group 2     Yes        Full      1,834      1,886    2,237
Census Tract 705                           6,229      6,414    6,513
                                                                                                        all except 74 residential rooftops for 32 Apartment Units at Willow Ridge, Ellen Dr. (27), Cedar (5),
    Block Group 1     Yes     Partial      2,296      2,400    2,792     90.6%     92.0%        91.4%   Goshen (10) are not within 2.5-mile buffer
                                                                                                        all except for 166 residential roof tops are NOT in 2.5-mile buffer along Foxwood Lane (74) and
    Block Group 2     Yes     Partial      1,640      2,516    2,285     71.0%     82.1%        82.1%   from South to North Sugar Ridge (92)
                                                                                                        all except 93 residential rooftops between Gardenia St. and Magnolia Dr., heavy tree landscape in
    Block Group 3     Yes     Partial      2,293      1,498    1,436     89.3%     82.7%        84.3%   the north area of BG.
Census Tract 710                           2,840      2,594    2,660
                                                                                                        59 residential rooftops including Persimmon (19), Capt., G B St. (6), Pine (28), Peach (3), and Smith
    Block Group 1     Yes     Partial      1,456      1,240    1,206     21.0%     19.8%        19.7%   Dr. (3)
    Block Group 2     No        N/A        1,384        523      531
                                                                                                        139 residential rooftops including six below Laryo Park, Mahogany (32), Maple Loop (72), Jack (11),
    Block Group 3     Yes     Partial          --       831      923               15.3%        16.7%   and Orange Loop (18)
Census Tract 703                           6,258      6,123    6,348
                                                                                                        156 residential rooftops including Madewell (47), Rosedown (37), Elmwood (24), Arlington Ct. (17),
    Block Group 1     Yes     Partial      1,191        966    1,397     27.3%     29.5%        21.3%   Concord (15), and Carrollwood Dr./Rue Dubourg (16)
    Block Group 2     No        N/A        1,274      1,247    1,113
    Block Group 3     No        N/A        1,489      1,469    1,820
    Block Group 4     No        N/A        2,304      2,441    2,018
Census Tract 707                           4,348      3,424    3,457
    Block Group 1     Yes     Partial        870        759      997      0.0%      0.0%         0.0%   small portion of western area in buffer, but all industrial, so no part of pop. Is included.
                                                                                                        small portion northeast area of buffer is outside of buffer, but all industrial so full pop. Should be
    Block Group 2     Yes     Partial      2,162      1,106    1,205    100.0%    100.0%       100.0%   included in manual adjustment
    Block Group 3     Yes        Full        673        987      863    100.0%    100.0%       100.0%
    Block Group 4     Yes        Full        643        572      392    100.0%    100.0%       100.0%
Census Tract 711                            3398       2951     2781
    Block Group 1      No       N/A          921        980     1491
    Block Group 2      No       N/A         1210        978      685
                                                                                                        All houses northern area of BG and along river and are in the 2.5-mile buffer, except for 7
    Block Group 3     Yes     Partial       621        455      104      97.4%     97.1%        95.2%   residential rooftops along E 6th Street
    Block Group 4     Yes     Partial       646        538      501     100.0%    100.0%       100.0%   All houses northern area of BG and along river and are in the 2.5-mile buffer
Census Tract 704                           4381       4305     4106
    Block Group 1      No       N/A        2958       2742     2589
                                                                                                        147 residential rooftops overlap the 2.5-mile buffer including 20 apartment buildings at Normandy
                                                                                                        Village including (60 units) on Calais, Concord (17), Bayonne (16 duplexes plus 13 SFH), Tours Ct.
    Block Group 2     Yes     Partial      1423       1563     1517      28.4%     22.5%        27.7%   13, Glendale (3), and Vichy Ct. (9)


                                                                                          38
Table 7: Total population and Housing Units for 2.5-mile buffer surrounding Denka Facility, by tract, block group, and data source
                                   2010 Census                             2020 Census                                  2017-2021 ACS
                        Population          Housing Units           Population    Housing Units Population                     Housing Units
Census Tract 708           2,537                 943                  1,930             859              1,664                      961
     Block Group 1         1,081                 383                   808              361               599                       403
     Block Group 2         1,456                 560                  1,122             498              1,065                      558
Census Tract 709           3,115                1,073                 2,785            1,120             3,461                     1,328
     Block Group 1         1,281                 478                   899              454              1,224                      577
     Block Group 2         1,834                 595                  1,886             666              2,237                      751
Census Tract 705           6,229                2,228                 6,414            2,387             6,513                     2,381
     Block Group 1         2,296                 789                  2,400             923              2,792                      863
     Block Group 2         1,640                 572                  2,516             926              2,285                      927
     Block Group 3         2,293                 867                  1,498             538              1,436                      591
Census Tract 710           2,840                1,330                 2,594            1,540             2,660                     1,443
     Block Group 1         1,456                 663                  1,240             702              1,206                      705
     Block Group 2         1,384                 667                   523              452               531                       385
     Block Group 3           --                    --                  831              386               923                       353
Census Tract 703           6,258                2,394                 6,123            2,422             6,348                     2,443
     Block Group 1         1,191                 572                   966              529              1,397                      731
     Block Group 2         1,274                 427                  1,247             426              1,113                      470
     Block Group 3         1,489                 548                  1,469             584              1,820                      580
     Block Group 4         2,304                 847                  2,441             883              2,018                      662
Census Tract 707           4,348                1,817                 3,424            1,592             3,457                     1,592
     Block Group 1          870                  305                   759              308               997                       264
     Block Group 2         2,162                 915                  1,106             522              1,205                      608
     Block Group 3          673                  314                   987              489               863                       477
     Block Group 4          643                  283                   572              273               392                       243
Census Tract 711           3,398                1,440                 2,951            1,428             2,781                     1,376
     Block Group 1          921                  445                   980              482              1,491                      597
     Block Group 2         1,210                 454                   978              450               685                       387
     Block Group 3          621                  266                   455              241               104                       145
     Block Group 4          646                  275                   538              255               501                       247
Census Tract 704           4,381                1,589                 4,305            1,680             4,106                     1,712

                                                                        39
Block Group 1    2,958    1071     2,742    1028     2,589    1181
Block Group 2    1,423    518      1,563     652     1,517     531
                33,106   12,814   30,526   13,028   30,990   13,236




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                                             Appendix A: Facts and Data Considered

Case Materials
ENV_ENFORCEMENT-3095252-v1-Denka_-_Coordinates_EPA_and_Denka_24-hr_Monitors_10212022.DOCX
EPA and Denka 24-hour air monitoring networks:
Coordinates for EPA’s 24-hour air monitoring network (active from 2016 – 2020) (converted to decimal degrees)

 SITE_NAME                        MONITOR_LATITUDE                    MONITOR_LONGITUDE
 Ochsner Hospital                 30.071420                           -90.515436
 Acorn Hwy 44                     30.058785                           -90.509599
 Levee                            30.051803                           -90.522571
 5th Ward Elem School             30.051938                           -90.531859
 Chad Baker                       30.057070                           -90.533381
 East St. John High School        30.077830                           -90.532944

Coordinates for Denka’s 24-hour air monitoring network (active 2016 – present) (converted to decimal degrees)

 SITE_NAME                   MONITOR_LATITUDE                       MONITOR_LONGITUDE
 Entergy                     30°4’9.21”N                            90°32’6.17”W
                             (30.069225)                            (-90.53504722222222)
 Railroad                    30°3’48.25”N                           90°30’41.99”W
                             (30.063402777777778)                   (-90.51166388888889)
 Western                     30°3’6.70”N                            90°31’41.99”W
                             (30.051861111111112)                   (-90.52833055555556)
 Levee                       30°3’6.24”N (30.051733333333335)       90°31’21.42”W
                                                                    (-90.52261666666666)
 Hospital                    30°4’15.85”N                           90°30’48.29”W
                             (30.071069444444444)                   (90.51341388888889)
 Edgard                      30°2’45.48”N                           90°33’34.01”W
                             (30.04596666666667)                    (-90.55944722222222)




                                                                       41
                                 Appendix B: Curriculum Vitae


                                         Nyesha C. Black, Ph.D.
                                nyeshablack@gmail.com | 205-712-6478
Education

The Pennsylvania State University, College of Liberal Arts | University Park, PA
       Ph.D. Dual Degree in Demography and Sociology, Completed May 2015
       M.A. Dual Degree in Demography and Sociology, Completed December 2011


The University of Alabama, Culverhouse College of Business | Tuscaloosa, AL
       B.S.     Economics with a minor in Sociology, Completed May 2009


Shelton State Community College | Tuscaloosa, AL
       A.A.    General Studies with a concentration in Business Administration, Completed May 2005

Certifications and Competitive Data Workshops:
    - American Community Survey in the Classroom, Summer Institute in Survey Research
         Techniques at the University of Michigan – Ann Arbor
    - Advanced Spatial Pattern Analysis for Population Scientists, University of California, Santa
         Barbara
    - Business Research Certificate, Collat School of Business, University of Alabama at Birmingham
    - Combining Qualitative and Quantitative Methods, Summer Institute in Survey Research
         Techniques at the University of Michigan – Ann Arbor
    - Propensity Score Methods for Causal Inference, Summer Institute on Innovative Methods at
         The Pennsylvania State University


Applied Research & Policy Experience

The University of Alabama, Center for Business and Economic Research                         Tuscaloosa, AL
Director of Demographics /Assistant Research Personnel                                    July 2020- Present
    - Leads demographics and socioeconomics team; manages junior-level socioeconomic analyst(s);
         and serves aa liaison for the U.S. Census Bureau’s Federal/State Cooperatives for Population
         Estimates and Projections
    - Provides complex demographic analysis including population projections for various geographic
         areas; develop metrics for comparative socioeconomic analyses of speciﬁed geographic or
         governmental areas; and complete data requests for public stakeholders and private clients
    - Conducts socioeconomic research and make presentations to key stakeholders and provides
         technical writing and editing for periodic publications including newsletters, research briefs, and
         reports




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Noire Analytics                                                                        Birmingham, AL
Managing Director of Research                                                      Sept. 2018- Present
    - Manage the day-to-day operations of a research and strategic advisory firm. This includes project
       management, client engagement and acquisition, accounting and bookkeeping, and contract
       review
    - Conducting primary and secondary data collection, survey design, quantitative and qualitative
       analysis, including multivariate regression, focus groups, in-depth interviews, expert witness
       testimony, and program evaluations

Regional Planning Commission of Greater Birmingham                                    Birmingham, AL
Independent Contractor                                                           Feb. 2016 -Feb.2020
    - Co-authored a $145,000.00 grant administered by Pew Charitable Trusts to develop an
       assessment tool to measure the economic and social determinants of health in Birmingham’s 99
       neighborhoods
    - Co-organized stakeholder engagement meetings with over 100 local non-profit organizations
       and residents
    - Conducted focus groups with local residents about assets and barriers to health and
       neighborhood quality

City of Birmingham, Department of Planning, Engineering & Permits                      Birmingham, AL
Appointed Commissioner, Birmingham Planning Commission                              June 2017- Present
    - Review and recommend implementation of city’s comprehensive plan for urban renewal,
         commercial revitalization, rezoning, and annexation
    - Review and approve all construction projects by federal, state, and local governments and
         organizations
    - Approve and adopt neighborhood improvement plans and identify specific revitalization
         strategies

United States Department of Agriculture, Economics Research Service                  Washington, D.C.
Economics Intern                                                                  June 2013-Aug. 2013
    - Collaborated with economists to analyze data and forecast the implications of the Patient
       Protection and Affordable Care Act on farm households and businesses; co-authored research
       results and published findings in Applied Economic Perspectives and Policy
    - Authored an internal report for research and data needs pertaining to local food systems and
       the USDA’s “Know Your Farmer, Know Your Food” initiative

Academic Experience

University of Alabama at Birmingham, College of Arts and Sciences                       Birmingham, AL
Teaching Assistant Professor                                                      Jan. 2016- Sept. 2018
   - Plan appropriate and engaging lessons for eight courses geared toward classroom and online
       learning
   - Design multimedia teaching materials for in-person and online instruction
   - Establish and maintain professional relationships in the business community through social
       networks to organize guest speakers, facilitate group projects, and coordinate internships to
       support student learning


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    -   Taught and evaluated more than 1,200 students over two years, managed class sizes ranging
        from 10 to 200, and built strong rapport through class discussions and academic advisement
    -   Supervised and evaluated the performance of eight teaching and research assistants

University of Alabama at Birmingham, College of Preventive Medicine                     Birmingham, AL
Research Fellow                                                                     Jan. 2015- Dec.2015
   - Conducted health policy and health disparities research, authored manuscripts, and presented
       findings at professional conferences
   - Completed interdisciplinary training in patient-centered outcomes research, health economics,
       modeling/simulation, clinical decision making, and cost-effectiveness analysis

The Pennsylvania State University                                                     University Park, PA
Research Assistant & Instructor                                                      Aug. 2009-Dec. 2014
National Science Foundation Graduate Research Fellow
    - Coordinated field research tasks to ensure accurate and complete data collection in
       economically distressed neighborhoods in Philadelphia and created progress reports for a team
       of GIS analysts
    - Managed two large datasets, meticulously checked the validity of data entries, recoded and
       created variables; used SPSS to analyze descriptive statistics, frequency tables, and statistical
       analyses
    - Increased accuracy of measuring food access in disadvantaged neighborhoods by surveying 120+
       grocers in six weeks and created maps in ArcGIS to visually display the distribution of food stores
    - Developed engaging, effective lessons by integrating multimedia for undergraduate students of
       diverse backgrounds; created interactive exercises to clarify and reinforce abstract concepts
       covered during lectures; and evaluated students’ progress and performance
    - 100% of students surveyed anonymously rated the quality of my instruction as above average


Selected Publications

    -   Meeker, Melissa A., Brian S. Schwartz, Karen Bandeen-Roche, Annemarie G Hirsch, Shanika S.
        DeSilva, A., Tara P. McAlexander, Nyesha C. Black, Leslie A. Mcclure (2022). Assessing
        Measurement Invariance of a Land Use Environment Construct Across Levels of Urbanicity.
        GeoHealth, e2022GH000667, 1–18.

    -   De Silva, S. Shanika A., Melissa A. Meeker, Victoria Ryan, Yasemin Algur, Long, Leann D, April P.
        Carson, Nyesha Black, and Leslie A McClure (2022). Comparing Global and Spatial Composite
        Measures of Neighborhood Socioeconomic Status Across US Counties. Journal of Urban Health,
        99, 457–468.

    -   Hirsch, Annemarie. G., April P. Carson, Nora L. Lee, Tara McAlexander, Carla Mercado, Karen
        Siegel, Nyesha C. Black, et al. (2020). The Diabetes Location, Environmental Attributes, and
        Disparities Network: Protocol for Nested Case Control and Cohort Studies, Rationale, and Baseline
        Characteristics. JMIR Research Protocols, 9(10), 1–17.

    -   Uddin, Jalal, Gargya Malla, Leann D. Long, Sha Zhu, Nyesha Black, et al. (2022). The Association
        between Neighborhood Social and Economic Environment and Prevalent Diabetes in Urban and


                                                   44
       Rural Communities: The Reasons for Geographic and Racial Differences in Stroke (REGARDS)
       study. SSM - Population Health, 17, 1–7.

   -   Kramer, Michael R., Nyesha C. Black, Stephen A. Matthews, and Sherman A. James. 2017. “The
       Legacy of Slavery and Contemporary Declines in Heart Disease Mortality in the U.S. South.” Social
       Science & Medicine -Population Health, 3:609–17.

   -   Black, Nyesha C. 2014. “An Ecological Approach to Understanding Adult Obesity Prevalence in the
       United States: A County-Level Analysis Using Geographically Weighted Regression.” Applied
       Spatial Analysis and Policy 7(3): 283–99.

   -   Yang, Tse-Chuan, Carla Shoff, Aggie J. Noah, Nyesha Black, and Corey S. Sparks. 2014. “Racial
       Segregation and Maternal Smoking during Pregnancy: A Multilevel Analysis Using the Racial
       Segregation Interaction Index.” Social Science & Medicine, 107:26–36.

   -   Ahearn, Mary C., James M. Williamson, and Nyesha C. Black. 2014. “Implications of Health Care
       Reform for Farm Businesses and Families.” Applied Economic Perspectives and Policy, 37(2): 260-
       286.


Other Experience

   -   Expert Witness, The United States of America v. Denka Performance Elastomers, Inc. (E.D. LA)
       (Civil Action No. Civ. No. 2:23-cv-735), retained by the U.S. Department of Justice

   -   Expert Witness, United States of America v. Housing Authority of Ashland, AL, Southern
       Development Company of Ashland, LTD., (N.D. ALA.) (Civil Action No. 1:20-cv-01905-
       ACA), retained by the U.S. Department of Justice




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